
28 N.Y.2d 566 (1971)
Alfred C. Thompson, Appellant,
v.
Isabella A. Bremer, Individually and as Administratrix of The Estate of Harriet W. Mitchell, Deceased, et al., Respondents, et al., Defendants. (Action No. 1.)
Florence Phillips, Respondent,
v.
Metropolitan Life Insurance Company, Defendant. (Action No. 2.)
Court of Appeals of the State of New York.
Submitted January 6, 1971.
Decided January 21, 1971.
Melvin A. Albert and Irving Ballen for appellant.
Mason L. Hampton, Jr. and Anthony J. Scuderi for respondents.
Concur: Chief Judge FULD and Judges SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON. Taking no part: Judge BURKE.
Order affirmed, without costs. The inferences of fact based on the agreed statement stand affirmed by the Appellate Division. Beyond that there is no error in the application of law to the facts as found.
